  Case 2:23-cv-00721-TC-JCB Document 1 Filed 10/11/23 PageID.1 Page 1 of 9




                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH
                                    CENTRAL DIVISION


 JASON ROIG, individually,
 and on behalf of all others
 similarly situated,                                 Case No.

                Plaintiffs.                          COLLECTIVE ACTION COMPLAINT
                                                     FOR DAMAGES AND DEMAND FOR
        v.                                           JURY TRIAL

 ALDER HOLDINGS, LLC,
 a Utah limited liability company,

                Defendant.


                 COLLECTIVE ACTION COMPLAINT FOR DAMAGES
                        AND DEMAND FOR JURY TRIAL

       Plaintiff, JASON ROIG (“Plaintiff”), pursuant to Section 216(b) of the Fair Labor

Standards Act (“FLSA”), hereby files his Collective Action Complaint for Damages and

Demand for Jury Trial, as follows:

                                        INTRODUCTION

       1.      During the past 3 years Defendant has misclassified Plaintiff and other similarly

situated Field Service Technicians throughout the United States as independent contractors to

avoid federal overtime wage obligations under the Fair Labor Standards Act (“FLSA”). As a result

of this intentional and willful misclassification, Defendant deprived Plaintiff and hundreds of other

employees of federal overtime wages during the course of the previous three (3) years. This action

arises under the FLSA, pursuant to 29 U.S.C. §§ 201–216, to recover all federal overtime wages

that Defendant refused to pay Plaintiff and all other similarly situated employees.
  Case 2:23-cv-00721-TC-JCB Document 1 Filed 10/11/23 PageID.2 Page 2 of 9




                                             PARTIES

         2.     During all times material hereto, Plaintiff was a resident of Puerto Rico, over the

age of 18 years, and otherwise sui juris.

         3.     During all times material hereto, Defendant was a Utah limited liability company

located and transacting business within Orem, Utah, with a principal place of business located at

450 North 1500 West, Orem, Utah 84057, within the jurisdiction of this Honorable Court.

         4.     Plaintiff worked for Defendant in various locations in the United States.

         5.     During all times material hereto, Defendant was vested with control and decision-

making authority over the scheduling, hiring, firing, day-to-day operations, and pay practices that

pertained to Plaintiff.

         6.     Defendant exercised significant control over the nature and degree of the work

performed by Plaintiff, and the economic realities of the relationship between Plaintiff and

Defendant was consistent with that of employer-employee.

         7.     Defendant was Plaintiff’s employer, as defined by 29 U.S.C. § 203(d), during all

times pertinent to the allegations herein.

                                 JURISDICTION AND VENUE

         8.     All acts and/or omissions giving rise to this dispute took place within Orem, Utah,

which falls within the jurisdiction of this Honorable Court.

         9.     Defendant regularly transacts business in Orem, Utah, and jurisdiction is therefore

proper within the District of Utah pursuant to 29 U.S.C. § 216(b) and 28 U.S.C. §§ 1331 and 1337.

         10.    Defendant may be served in the State of Utah through its registered agent, M&B

Corporate Services, LLC, which is located at Nine Exchange Place Suite 600, Salt Lake City, Utah

84111.




                                                 2
  Case 2:23-cv-00721-TC-JCB Document 1 Filed 10/11/23 PageID.3 Page 3 of 9




        11.     Venue is also proper within the District of Utah pursuant to 29 U.S.C. § 216(b) and

28 U.S.C. § 1391(b).

                          PLAINTIFF’S WORK FOR DEFENDANT

        12.     Defendant is a home security door-to-door sales company that relies on Field

Service Technicians to install and otherwise perform maintenance on a number of devices it sells

across the country including, but not limited to, touchscreen panels, indoor and outdoor cameras,

and door and window sensors.

        13.     Defendant operates in several states throughout the country and hires Field Service

Technicians to perform work in these locations – all of whom share substantially similar duties

and responsibilities related to installation work and customer service.

        14.     During the past three (3) years Defendant has regularly advertised jobs for Field

Service Technicians in Florida, Arkansas, Oklahoma, Ohio, Alabama, Louisiana, Washington,

Idaho, Utah, Texas, Tennessee, Mississippi, South Carolina, North Carolina, and Georgia.

        15.     The job postings in all of these states are substantially similar, and in many cases,

virtually identical.

        16.     When Defendant hires a Field Service Technician it provides them with an offer

letter that outlines the terms of their employment.

        17.     Defendant requires these Field Service Technicians to travel significant distances

to perform work.

        18.     Defendant also requires these Field Service Technicians to wear company uniforms

while they are performing work in the field which bear the Alder logo.




                                                  3
  Case 2:23-cv-00721-TC-JCB Document 1 Filed 10/11/23 PageID.4 Page 4 of 9




        19.     Defendant requires these Field Service Technicians to also wear identification

badges while they are performing work in the field which designates them as being associated with

Alder. These identification badges are attached to a lanyard bearing the Alder logo.

        20.     Defendant hired Plaintiff as a Field Service Technician on or about January 16,

2023.

        21.     Defendant assigned Plaintiff to perform work on projects in Ohio, West Virginia,

and Kentucky.

        22.     Plaintiff was required to travel significant distances from his residence in Puerto

Rico to these job locations.

        23.     Defendant required Plaintiff to work in excess of forty (40) hours in one or more

workweeks.

        24.     Defendant required Plaintiff to work an average of approximately sixty (60) hours

per week.

        25.     During his employment as a Field Service Technician, Plaintiff was required to

wear the following Alder uniform:




                                                 4
  Case 2:23-cv-00721-TC-JCB Document 1 Filed 10/11/23 PageID.5 Page 5 of 9




       26.    During his employment as a Field Service Technician, Plaintiff was required to

wear the following Alder identification badge and lanyard:




       27.    Defendant required Plaintiff and other Field Service Technicians to wear these

uniforms and identification badges so that customers would believe the Field Service Technicians

were Alder employees.

       28.    Defendant compensated Plaintiff and other Field Service Technicians a flat rate

based on the number of projects completed.

       29.    During his employment, Defendant compensated Plaintiff a flat rate of $50.00 per

completed project regardless of how long the project would take the complete.

       30.    Defendant misclassified Plaintiff and other similarly situated Field Service

Technicians as “independent contractors” even though the economic realities of the work




                                               5
  Case 2:23-cv-00721-TC-JCB Document 1 Filed 10/11/23 PageID.6 Page 6 of 9




relationship demonstrated that Plaintiff and the Field Service Technicians were Defendant’s

employees.

       31.     Defendant misclassified Plaintiff and other similarly situated Field Service

Technicians in an effort to avoid federal overtime wage obligations under the FLSA.

       32.     In April of 2023, Defendant attempted to change Plaintiff’s status from

“independent contractor” to a “W-2 Employee.”

       33.     However, Defendant refused to pay Plaintiff federal overtime wages during one or

more workweeks when he worked more than forty (40) hours.

       34.     Defendant failed to comply with the record-keeping requirements under FLSA

concerning the number of hours worked by Plaintiff and the compensation paid to Plaintiff.

       35.     Plaintiff’s last day working for Defendant was on or about April 18, 2023.

                                      FLSA COVERAGE

       36.     Defendant is covered under the FLSA through enterprise coverage, as Defendant

was engaged in interstate commerce during all pertinent times in which Plaintiff was employed.

More specifically, Defendant engaged in interstate commerce by virtue of the fact that its business

activities involved those to which the FLSA applies. Defendant’s business and Plaintiff’s work for

it affected interstate commerce because the goods and materials that Plaintiff used on a constant

and/or continuous basis moved through interstate commerce prior to or subsequent to Plaintiff’s

use of the same.

       37.     During his employment with Defendant, Plaintiff and various other similarly

situated employees handled and worked with goods and/or materials that moved through interstate

commerce, including, but not limited to the following: cell phones, telephones, extension cords,

pencils, pens, paper, tape, keyboards, computers, cables, stamps, markers, staplers, staples,




                                                6
  Case 2:23-cv-00721-TC-JCB Document 1 Filed 10/11/23 PageID.7 Page 7 of 9




invoices, head sets, extension cords, masks, boxes, envelopes, hand sanitizer, rebuild kids, cylinder

heads, injectors, bearings, gaskets, crankshafts, diesel engines, screw drivers, hammers, nails,

screws, washers, wd40, etc.

          38.   Defendant also regularly employed two (2) or more employees for the relevant

time period, who handled the same or similar goods and materials handled by Plaintiff, thus

making Defendant’s business an enterprise covered by the FLSA.

          39.   Defendant had gross annual revenues in excess of $500,000.00 in the years 2020,

2021 and 2022 and is expected to gross in excess of $500,000.00 in the year 2023.

          40.   During his employment with Defendants, Plaintiff was regularly and recurrently

engaged in an instrumentality of interstate commerce and subject to individual coverage, as that

term is defined by the FLSA. More specifically, Plaintiff used the interstate telephone system to

regularly and recurrently speak with Defendant’s customers who resided outside of the state of

Utah over the phone. Plaintiff also regularly and recurrently sent and received correspondences to

and from Defendant’s customers and potential customers outside of Utah during his employment

period.

          41.   During his employment with Defendant, Plaintiff (i) performed non-exempt work;

(ii) did not have supervisory authority over any individuals; (iii) did not make any decisions of

importance on behalf of Defendant, and (iv) was not required to possess any advanced training,

skill, or prolonged education in order to perform any of his primary duties and responsibilities.

          42.   During all material times hereto, Plaintiff was a non-exempt, hourly employee of

Defendant, within the meaning of the FLSA.




                                                 7
  Case 2:23-cv-00721-TC-JCB Document 1 Filed 10/11/23 PageID.8 Page 8 of 9




   DEFENDANT MISCLASSIFIES FIELD SERVICE TECHNICIANS NATIONWIDE

       43.      During his employment period, Plaintiff was specifically aware of at least thirty-

five (35) other Field Service Technicians who were similarly misclassified as independent

contractors.

       44.      Defendant made the decision to misclassify Plaintiff and the other Field Service

Technicians across the country from its headquarters in Orem, Utah.

       45.      Defendant controls the work performed by Field Service Technicians and assigns

Field Service Technicians to work on certain projects.

       46.      Defendant’s job postings for the Field Service Technician positions acknowledge

that “overtime” will be required to assist on priority service tickets.

       47.      Defendant treats the Field Service Technicians the same regardless of their

geographic location in the United States.

       COUNT I – FEDERAL OVERTIME WAGE VIOLATIONS – 29 U.S.C. § 207
                           (Nationwide Collective)

       48.      Plaintiff hereby re-alleges and re-avers Paragraphs 1 through 47 as though set forth

fully herein.

       49.      Plaintiff alleges this Action pursuant to the Fair Labor Standards Act (“FLSA”), 29

U.S.C. § 216(b).

       50.      Defendant refused to pay Plaintiff and similarly situated Field Service Technicians

one-and-a-half times their regular hourly rate for hours worked over forty (40) in one or more

weeks of their employment.

       51.      Plaintiff seeks certification under 29 U.S.C. § 216(b) of the following similarly

situated Nationwide Collective:




                                                  8
  Case 2:23-cv-00721-TC-JCB Document 1 Filed 10/11/23 PageID.9 Page 9 of 9




               Any and all Field Service Technicians who worked for
               Defendant who were classified as independent contractors and
               worked more than 40 hours in a workweek but were not paid
               overtime wages at any time during the previous three (3) years.

       52.     Plaintiff claims the applicable federal overtime wage rate for all hours over forty

(40) that he worked during his employment.

       53.     Defendant willfully and intentionally refused to pay Plaintiff and similarly situated

individuals federal overtime wages as required by the FLSA, as Defendant knew or should have

known of the FLSA’s overtime wage requirements.

       54.     Defendant’s willful and/or intentional violations of federal wage law entitle

Plaintiff to an additional amount of liquidated, or double, damages.

       WHEREFORE, Plaintiff, JASON ROIG, respectfully requests that this Honorable Court

enter judgment in his favor and against Defendant, ALDER HOLDINGS, LLC, and award

Plaintiff: (a) unliquidated damages; (b) liquidated damages; (c) reasonable attorney’s fees and

costs; and any such further relief as may be deemed just and reasonable under the circumstances.

                                 DEMAND FOR JURY TRIAL

   Plaintiff, JASON ROIG, on behalf of himself and the Nationwide Collective, demands a trial

by jury on all appropriate claims.

       Dated: October 11th, 2023.

MORGAN & MORGAN, P.A.                                MORGAN & MORGAN, P.A.
222 S. Main Street, Suite 537                        8151 Peters Road
Salt Lake City, UT 84101                             4th Floor
Ph: (689) 216-7762                                   Plantation, Florida 33324
Fax: (689) 216-7812                                  Ph: (954) 327-5355
Counsel for Plaintiffs                               Counsel for Plaintiffs

By: /s/ Justin Galvez                                By: /s/ Andrew R. Frisch
JUSTIN GALVEZ, ESQUIRE                               ANDREW R. FRISCH, ESQUIRE
Utah Bar No.                                         Florida Bar No. 27777
jgalvez@forthepeople.com                             afrisch@forthepeople.com



                                                 9
